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                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF NEW YORK

 JOSEPH A. DAOU and KAREN M. DAOU,                          :
                                  Plaintiffs,               :   Case No. 1:20-cv-04438-DLC
                                                            :
                            vs.                                 DECLARATION OF CHRISTOPHER
                                                            :   J. MAJOR IN OPPOSITION TO
 BLC BANK, S.A.L., CREDIT LIBANAIS, S.A.L.,
                                                                DEFENDANTS’ MOTIONS TO
 AL-MAWARID BANK, S.A.L., and BANQUE DU                     :
                                                                DISMISS THE FIRST AMENDED
 LIBAN,
                                                            :   COMPLAINT
                                  Defendants.
                                                            x
        I, CHRISTOPHER J. MAJOR, hereby declare under penalty of perjury pursuant to 28

U.S. Code § 1746, that the following is true and correct:

        1.       I am an attorney licensed to practice law in the State of New York and before this

Court. I am a partner in the law firm of Meister Seelig & Fein LLP and counsel of record for

Plaintiffs in the above-captioned action. As such, I have personal knowledge of the facts set forth

herein. I respectfully submit this declaration, together with the annexed exhibits, in opposition to

Defendants’ respective motions to dismiss the First Amended Complaint (ECF 57, 59, and 62).

        2.       Attached as Exhibit 1 is a true and correct copy of an article by Reuters entitled

“Exclusive: Lebanon needs solution to crisis in days - Central bank governor,” dated October 28,

2019.

        3.       Attached as Exhibit 2 is a true and correct copy of an article by Bloomberg entitled

“Lebanese Banks Curtail Transfers Abroad Amid Unrest,” dated November 1, 2019.

        4.       Attached as Exhibit 3 is a true and correct copy of an article by Sami Halabi and

Jacob Boswall entitled “Lebanon’s Financial House of Cards,” dated November 2019.

        5.       Attached as Exhibit 4 is a true and correct copy of an article by Bloomberg entitled

“Lebanon Offers Banks Dollars as ‘Haircut’ on Deposits Ruled Out,” dated November 11, 2019.



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         6.       Attached as Exhibit 5 is a true and correct copy of an article by Bloomberg entitled

“Lebanon's Banks Set Limits They Won't Call Capital Controls,” dated November 17, 2019.

         7.       Attached as Exhibit 6 is a true and correct copy of an article by Bloomberg entitled

“Yields of 100% Push Lebanon’s Bonds Into Venezuela Territory,” dated November 20, 2019.

         8.       Attached as Exhibit 7 is a true and correct copy of an article by the New York

Times entitled “The Great Lebanese Ponzi Scheme,” dated December 2, 2019.

         9.       Attached as Exhibit 8 is a true and correct copy of an article by The National

entitled “S&P downgrades Lebanese banks as liquidity ‘appears to be diminishing’,” dated

December 19, 2019.

         10.      Attached as Exhibit 9 is a true and correct copy of an article by Asharq Al-Awsat

entitled “Scandal of Lebanese Politicians’ Transfer of Billions of Dollars abroad ‘Confuses’

Banks,” dated December 20, 2019.

         11.      Attached as Exhibit 10 is a true and correct copy of an article by Naharnet entitled

“Oueidat Asks Swiss, Lebanese Authorities for Info on Suspected Transfers,” dated December 30,

2019.

         12.      Attached as Exhibit 11 is a true and correct copy of an article by the Financial

Times entitled “End of the party: why Lebanon’s debt crisis has left it vulnerable,” dated December

31, 2019.

         13.      Attached as Exhibit 12 is a true and correct copy of Banque Du Liban’s Balance

Sheet.

         14.      Attached as Exhibit 13 is a true and correct copy of an article by Reuters entitled

“Lebanon central bank asks banks to review politicians' transfers: circular,” dated January 16,

2020.




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        15.    Attached as Exhibit 14 is a true and correct copy of an article from Bloomberg

entitled “Lebanon Takes Steps to Avoid Capital Flight,” dated January 30, 2020.

        16.    Attached as Exhibit 15 is a true and correct copy of an article by Retail Banking

Monitor entitled “Lebanon Banking Limits,” dated February 7, 2020.

        17.    Attached as Exhibit 16 is a true and correct copy of an article from Bloomberg

entitled “Lebanon Slammed by Double Downgrade as Bond Default Looms,” dated February 21,

2020.

        18.    Attached as Exhibit 17 is a true and correct copy of an article by Asharq Al-Awsat

entitled “Lebanon: Experts Call for Selling Part of Gold Reserves to Restructure Economy,” dated

February 29, 2019.

        19.    Attached as Exhibit 18 is a true and correct copy of an article from Naharnet

entitled “BDL Says USD Account Withdrawals Have $5,000 Monthly Cap,” dated April 22, 2020.

        20.    Attached as Exhibit 19 is a true and correct copy of an article from Reuters entitled

“‘Plain robbery’: Lebanese fume as dollar savings hit by financial crisis,” dated April 23, 2020.

        21.    Attached as Exhibit 20 is a true and correct copy of an article from Bloomberg

entitled “It’s Reform or Ruin for Lebanon,” dated April 30, 2020.

        22.    Attached as Exhibit 21 is a true and correct copy of an article from Bloomberg

entitled “Lebanon Tallies Up Its Debt Problem, Give or Take a Few Billion,” dated June 24, 2020.

        23.    Attached as Exhibit 22 is a true and correct copy of an article from Bloomberg

entitled “Lebanon’s Team of IMF Negotiators Loses Another Key Official,” dated June 29, 2020.

        24.    Attached as Exhibit 23 is a true and correct copy of an article from Bloomberg

entitled “Lebanon’s Economic Crisis Is Spinning Out of Control, Fast,” dated July 7, 2020.




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        25.    Attached as Exhibit 24 is a true and correct copy of BLC Bank S.A.L.’s webpage

listing its correspondent banks in the United States.

        26.    Attached as Exhibit 25 is a true and correct copy of Credit Libanais S.A.L.’s

webpage listing its correspondent banks in the United States.

        27.    Attached as Exhibit 26 is a true and correct copy of Al-Mawarid Bank S.A.L.’s

webpage listing its correspondent banks in the United States.

        28.    Attached as Exhibit 27 is a true and correct copy of an article from The Wall Street

Journal entitled “Lebanon’s Central Bank Fuels Corruption, Extremism Concerns,” dated

November 30, 2020.

        29.    Attached as Exhibit 28 is a true and correct copy of a publication from the

Foundation for Defense of Democracies entitled “Crisis in Lebanon: Anatomy of a Financial

Collapse,” published in August 2020.

        30.    Attached as Exhibit 29 is a true and correct copy of a certified translation of the

BDL “Fresh Money” Circular (Original Circular No. 150, Original Order No. 13217) dated April

9, 2020.

        31.    Attached as Exhibit 30 is a true and correct copy of an article from Reuters entitled

“Lebanon’s Besieged Banks Scramble to Avoid Near Total Wipeout,” dated May 6, 2020.

        32.    Attached as Exhibit 31 is a true and correct copy of an article from Executive

Magazine entitled “Who Owns the Banks: Revealing the Hands Holdings the Real Power in

Lebanon,” dated July 3, 2010.

        33.    Attached as Exhibit 32 is a true and correct copy of an article from Al Arabiya

entitled “Former Lebanon finance head says banks ‘smuggled’ $6 billion out: FT,” dated July 13,

2020.




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       34.     Attached as Exhibit 33 is a true and correct copy of an article from The New Arab

entitled “Lebanese Banker Slammed for Buying Jennifer Lawrence’s $9.9 Million NYC

Apartment,” dated August 9, 2020.

       35.     Attached as Exhibit 34 is a true and correct copy of the Bargain and Sale Deed

dated July 21, 2020 for the property located at 400 East 67th Street, Unit PH31, New York, New

York 10065 as filed with the New York City Department of Finance Office of the City Registrar.

This document was retrieved from the New York City Department of Finance Office of Registrar

online database.

       36.     Attached as Exhibit 35 is a true and correct copy of the Unit Owner’s Power of

Attorney dated July 21, 2020 for the property located at 400 East 67th Street, Unit PH31, New

York, New York 10065 as filed with the New York City Department of Finance Office of the City

Registrar. This document was retrieved from the New York City Department of Finance Office

of Registrar online database.

       37.     Attached as Exhibit 36 is a true and correct copy of the Mortgage dated July 21,

2020 for the property located at 400 East 67th Street, Unit PH31, New York, New York 10065 as

filed with the New York City Department of Finance Office of the City Registrar. This document

was retrieved from the New York City Department of Finance Office of Registrar online database.

       38.     Attached as Exhibit 37 is a true and correct copy of the Complaint entitled Mansour

v. Mansour, 1:17-cv-24206-JEM (ECF Doc. 1) and filed in the U.S. District Court for the Southern

District of Florida on November 17, 2017.

       39.     Attached as Exhibit 38 is a true and correct copy of the Amended Complaint

entitled Mansour v. Mansour, 1:17-cv-24206-JEM (ECF Doc. 7) and filed in the U.S. District

Court for the Southern District of Florida on October 17, 2018.




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       40.      Attached as Exhibit 39 is a true and correct copy of the Transcript of the

Evidentiary Hearing Before U.S. Magistrate Judge Alicia M. Otazo-Reyes on October 8, 2019, in

the matter of Mansour v. Mansour, 1:17-cv-24206-JEM (ECF Doc. 129).

       41.      Attached as Exhibit 40 is a true and correct copy of the Report and

Recommendation issued by U.S. Magistrate Judge Alicia M. Otazo-Reyes in the matter of

Mansour v. Mansour, 1:17-cv-24206-JEM (ECF Doc. 132), and dated January 8, 2020.

       42.      Attached as Exhibit 41 is a true and correct copy of an article from The 961 entitled

“Lebanese Bank Owners Transferred Abroad Billions of Dollars of Their Personal Money.”

       43.      Attached as Exhibit 42 is a true and correct copy of an article from the Middle East

Monitor entitled “3 Men Confess to Attacking Lebanon Journalist,” dated February 21, 2020.

       44.      Attached as Exhibit 43 is a true and correct copy of an article from Reporters

Without Borders entitled “Another Journalist attacked in Beirut,” dated February 14, 2020.

       45.      Attached as Exhibit 44 is a true and correct copy of an article from Committee to

Protect Journalists entitled “Lebanese Journalist Mohammed Zbib Assaulted in Beirut,” dated

February 25, 2020.

       46.      Attached as Exhibit 45 is a true and correct copy of the U.S. Department of State’s

2020 Investment Climate Statements: Lebanon Report.

       47.      Attached as Exhibit 46 is a true and correct copy of the U.S. State Department’s

Travel Advisory for Lebanon dated August 6, 2020.

       48.      Attached as Exhibit 47 is a true and correct copy of an article from Vax Before

Travel entitled “Lebanon’s Travel Advisory Updated with New Risk Indicators,” dated October

22, 2019.




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          49.    Attached as Exhibit 48 is a true and correct copy of an article from Reuters entitled

“Alvarez & Marsal Confirms Withdrawing from Lebanon Forensic Audit,” dated November 26,

2020.

          50.    Attached as Exhibit 49 is a true and correct copy of a publication by Dr. Nasri

Antoine Diab entitled “Let Us (Not) Talk About Haircut,” dated April 11, 2020.

          51.    Attached as Exhibit 50 is a true and correct copy of an article from Aljazeera

entitled “Lebanon’s Outgoing PM ‘Fears for Life’ After Political Fight,” dated November 25,

2020.

          52.    Attached as Exhibit 51 is a true and correct copy of the Treasury Financial Manual

Bureau of the Fiscal Service, Chapter 6000: Foreign Checks and Currency Drawn on Foreign

Banks.

          53.    Attached as Exhibit 52 is a true and correct copy of an English translation prepared

by United Kingdom translation firm dictate2us and made from the video interview of Banque Du

Liban's         long-time     Govenor,        Riad       Toufic       Salameh       found       here:

https://www.facebook.com/105184934243050/videos/220288652844508 .

          54.    Attached as Exhibit 53 is a true and correct copy of an article from Organized

Crime and Corruption Reporting Project (“OCCRP”) entitled “Lebanon’s Offshore Governor,”

dated August 11, 2020.

          55.    Attached as Exhibit 54 is a true and correct copy of an article from Forbes entitled

“Lebanon’s Currency Crisis Paves The Way To A New Future,” dated July 9, 2020.

          56.    Attached as Exhibit 55 is a true and correct diagram prepared by Plaintiffs

demonstrating the connections between Lebanese politicians and BLC Bank, S.A.L., Credit

Libanais, S.A.L., and Al-Mawarid Bank, S.A.L leadership.




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       57.     Attached as Exhibit 56 is a true and correct copy of Banque du Liban’s webpage

listing of the Governorate Timeline.

       58.     Attached as Exhibit 57 is a true and correct copy of a translated article from

Almarkazia entitled “The first president of the Court of Appeal in Beirut commissioned judge

Habib Rizkallah issued a decree requesting the heads of pens at the Palace of Justice in Beirut, to

meet the financial nature under a financial receipt in the absence of financial stamps,” dated July

16, 2020. Upon information and belief, Judge Habib Rizkallah is the son-in-law of the CL Bank’s

Chairman.

       59.     Attached as Exhibit 58 is a true and correct copy of an English translation provided

to me of an interview of Marwan Kheireddine made from a video posted online on October 10,

2019 : https://www.youtube.com/watch?v=K8vW-q2XrYs

       60.     Attached as Exhibit 59 is a true and correct copy of an English translation provided

to me of an interview of Marwan Kheireddine made from a video from Lebanese television

network, MTV, on December 5, 2019.

                                                     Dated this 18th day of December 2020
                                                      Stamford, Connecticut


                                                      /s/ Christopher J. Major
                                                         Christopher J. Major




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